   9:40 PM                                              GIVENS LAW FIRM
   09/27/22
   Accrual Basis                                     Account QuickReport
                                                    January through December 2021


                                         Date          Num    Name               Memo                       Split           Amount
                             �
       501 • FEE INCOME
                             Deposit   09/28/2021                             2022 Rents              113 GLF - US Bank     1,955.97
                             Deposit   10/26/2021                             2022 rents (I �         113 GLF - US Bank    23,471.67
                             Deposit   10/29/2021                               2022 rents (ll"1111   113 GLF - US Bank    46,943.34
                             Deposit   11/02/2021                               2022 rents (II�       113 GLF - US Bank    23,471.67
      Total 501 FEE INCOME                                                                                                 95,842.65
   TOTAL                                                                                                                   95,842.65




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   949PM                                                            GIVENS LAW FIRM
   09/27/22
   Accrual Basis                                               Account QuickReport
                                                           January through December 2020

                               Type      Date       Num Name                        Memo                         Split        Amount
       501 FEE INCOME
                             Deposit   01/17/2020                        lease yr                          113 GLF-US Bank    22,128.05
                             Deposit   01/24/2020                              2020 lease yr               113 GLF-US Bank    22,128.05
                             Deposit   10/09/2020                         2021 rents                       113 GLF-US Bank     1,855.91
                             Deposit   10/09/2020                           2021 rents                     113 GLF-US Bank    22,270.94
                             Deposit   10/13/2020                           2021 rents                     113 GLF-US Bank     1,855.91
                             Deposit   10/13/2020              Joe Delia 2021 rents (pd      -OST error)   113 GLF-US Bank    44,541.88
                             Deposit   10/26/2020 EFT                          2021 rents                  113 GLF-US Bank    22,270.94
                             Deposit   11/09/2020 EFT          Joe Delia 2021 rents (     balance due)     113 GLF-US Bank     1,855.80
                             Deposit   11/17/2020                              past due fees-atty fees     113 GLF-US Bank    44,541.88
                             Deposit   11/17/2020                              past due fees               113 GLF-US Bank    46,529.53
                             Deposit   11/17/2020                              past due fees               113 GLF-US Bank   145,794.27
      Total 501 FEE INCOME                                                                                                   375,773.16
   TOTAL                                                                                                                     375,773.16




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   09/27/22
   Accrual Basis                                     Account QuickReport
                                                    January through December 2018

                             Type      Date      Num Name             Memo                  Split         Amount
       501   FEE INCOME
                            Deposit 10/09/2018                          (2019 lease yr) 113 GLF-USBank     1,814.10
                            Deposit 10/12/2018              Joe Delia(2019 lease yr)   113 GLF-USBank     45,352.47
                            Deposit 10/15/2018                  (2019Iease yr)         113 GLF-USBank     21,769.19
                            Deposit 10/19/2018                          (2019 lease yr) 113 GLF-USBank    43,538.38
                            Deposit 10/31/2018                 (lease yr 2019)         113 GLF-USBank     21,769.19
      Total 501 FEEINCOME                                                                                134,243.33
   TOTAL                                                                                                 134.243.33




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   09/27/22
   Accrual Basis                                        Account QuickReport
                                                       January through December 2017

                              Type      Date      Num Name                  Memo                       Sp i
                                                                                                          l t        Amount
       501 FEE INCOME
                             Deposit 09/27/2017                           (fees 2018 lease yr)   113 GLF-US Bank     21,161.52
                             Deposit 09/27/2017                              (fees 2018 lease yr) 113 GLF-US Bank    21,161.52
                             Deposit 09/27/2017              Joe Delia (fees 2018 lease yr)      113 GLF-US Bank     44,086.52
                             Deposit 09/27/2017                         ( fess 2018 lease yr)    113 GLF-US Bank      1,763.46
                             Deposit 09/27/2017                         (fees 2017 lease yr)     113 GLF-US Bank      1,735.26
                             Deposit 09/29/2017                          (fees 2018 lease yr)    113 GLF-US Bank      1,763.46
                             Deposit 10/02/2017                              (fees 2018 lease yr) 113 GLF-US Bank    42,323.05
                             Deposit 10/27/2017                           fees (2018 lease yr)   113 GLF-US Bank      1,763.46
      Total 501 FEE INCOME                                                                                          135,758.25
   TOTAL                                                                                                            135,758.25




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   Accrual Basis                                        Account QuickReport
                                                       January through December 2016

                              Type      Date      Num Name                Memo                    Split          Amount
       501 FEE INCOME
                             Deposit 10/05/2016              Joe Delia {fees 2017 lease)     113 GLF-USBank      43,381.54
                             Deposit 10/05/2016                   {fees 2017 lease)          113 GLF-USBank      20,823.14
                             Deposit 10/05/2016                          {fees 2017 lease)   113 GLF-USBank       1,735.26
                             Deposit 10/05/2016                  {fees 2017 lease)           113 GLF-USBank      20,823.14
                             Deposit 10/13/2016                             {fees 2017 lease) 113 GLF-USBank     41,646.28
                             Deposit 10/20/2016                              (fees 2017 lease) 113 GLF-USBank    41,600.00
                             Deposit 11/15/2016                          (2017 lease)        113 GLF-USBank       1,735.26
      Total 501 FEE INCOME                                                                                      171,744.62
   TOTAL                                                                                                        171,744.62




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   09/27/22
   Accrual Basis                                                    Account QuickReport
                                                                  January through December 2015

                                 Type      Date      Num Name                       Memo                           Split          Amount
       501   FEE INCOME
                                Deposit 01/13/2015              2014 & 2015 Lease fees -                  e, 113 GLF- US Bank     81,524.00
                                Deposit 02/10/2015              2014 & 2015 Lease Fees                     113 GLF- US Bank        3,396.88
                                Deposit om3/2015 DEP            2014 &2015 Lease fees                      113 GLF- US Bank        3,396.00
                                Deposit 03/11/2015                          Settlement & Lease fees        113 GLF- US Bank       50,715.00
                                Deposit 03/11/2015                      2014 & 2015 Fees                   114 US Bank Savings    81,000.00
                                Deposit 10/02/2015                              {fees on 2016 lease yr)    113 GLF- US Bank       41,231.61
                                Deposit 10/02/2015              Joe Delia {fees on 2016 lease yr)          113 GLF- US Bank       42,949.60
                                Deposit 10/05/2015                         (fees on 2016 lease yr)         113 GLF- US Bank        1,717.99
                                Deposit 10/07/2015                          {fees on 2016 lease yr)        113 GLF- US Bank        1,717.99
                                Deposit 10/13/2015                           {fees on 2016 lease yr)       113 GLF- US Bank       20,615.80
                                Deposit 10/20/2015                              {fees on 2016 lease yr)    113 GLF- US Bank       20,615.80
                                Deposit 11/12/2015                      {fees 2016 lease)                  113 GLF- US Bank       41,231.61
                                Deposit 12/03/2015                           {fees 2016 lease)             113 GLF- US Bank        1,717.98
      Total 501 FEE NCOME                                                                                                        391,830.26
   TOTAL                                                                                                                         391,830.26


       502 CLIENT COST INCOME
                                Deposit 03/11/2015              Trinity Delia Settlement Costs             113 GLF- US Bank        8,022.00
      Total 502 CLIENT COST NCOME                                                                                                  8,022.00
   TOTAL                                                                                                                           s.022.00




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   Accrual Basis                                                Account QuickReport
                                                               January through December 2014


                                Type    Data      Num   Name                          Mamo                   Spilt         Amount
       501   FEE INCOME
                             Deposit 01/11/2014 DEP            Fees from settlement for                113 GLF US Bank 1,105,502 00
                             Deposit 01/11/2014 DEP            Fees for 2013 Lease payment for         113 GLF US Bank     39,648 00
                             Deposit 10/17/2014                Joe Delia fees (2015 leese pymt)        113 GLF US Bank     42,896 50
                             Deposit 11/05/2014                               lees (2015 lease pymt)   113 GLF US Bank     41,180 64
      Total 501 FEE NCOME                                                                                                1,229,227.14
   TOTAL                                                                                                                 1,229,227.14


       502 CLIENT C05T INCOME
                             Deposit 01/11/2014 DEP            Costs from settlement for               113 GLF US Bank    106,671 00


      Total 502 CLIENT COST NCOME                                                                                         106,671 00
   TOTAL                                                                                                                  106,611.00




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   09/27/22
   Accrual Basis                                          Account QuickReport
                                                      January through December 2013

                              Type     Date    Num Name                   Memo                       Split        Amount
       501 FEE INCOME
                             Deposit 10/28/2013 DEP       Joe Delia Fees (2014 Lease pymt)    113 GLF - US Bank 42,025.58
                             Deposit 10/29/2013 DEP                     Fees (2014 Leese pymt) 113 GLF - US Bank 40,344.56
      Total 501 FEE INCOME                                                                                       82,370.14
   TOTAL                                                                                                         82,370.14




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   09/27/22
   Accrual Basis                                             Account QuickReport
                                                         January through December 2012

                                 Type     Date    Num Name                  Mamo                           Split             Amount
       501 FEE INCOME
                                Deposit 08/14/2012 DEP                       fees on settlement   112 Wells Fargo Office 1,101,478.00
                                Deposit 08/14/2012 DEP                          fee on settlement 112 Wells Fargo Office 1,105,509.00
                                Deposit 08/14/2012 DEP       Joe Delia fees on settlement         112 Wells Fargo Office 1,147,374.00
                                Deposit 08/14/2012 DEP                  fees on settlement        112 Wells Fargo Office      45,894.00
                                Deposit 08/14/2012 DEP                    fees on settlement      112 Wells Fargo Office      45,894.00
                                Deposit 10/22/2012 DEP                     on 2013 Rents          112 Wells Fargo Office      39,648.95
                                Deposit 10/22/2012 DEP            Fees on 2013 Rents              112 Wells Fargo Office       1,652.03
                                Deposit 10/22/2012 DEP              Fees on 2013 Rents            112 Wells Fargo Office       1,652.03
                                Deposit 10/24/2012 DEP       Joe Fees on 2013 Rents               112 Wells Fargo Office      41,300.99
                                Deposit 11/07/2012 DEP                       on 2013 Rents        112 Wells Fargo Office      39,648.95
      Total 501 FEE INCOME                                                                                                 3,570,051.95
   TOTAL                                                                                                                   3,!711,0!� .§!


       502 CLIENT COST INCOME
                                Deposit 08/14/2012 DEP                       client costs         112 Wells Fargo Office     106,671.00
                                Deposit 08/14/2012 DEP                          client costs      112 Wells Fargo Office     106,671.00
                                Deposit 08/14/2012 DEP       Joe Delia client costs               112 Wells Fargo Office     111,115.00
                                DeposH 08/14/2012 DEP                   client costs              112 Wells Fargo Office       4,444.00
                                DeposH 08/14/2012 DEP                     client costs            112 Wells Fargo Office       4,444.00
      Total 502 CLIENT COST INCOME                                                                                           333,345.00
   TOTAL                                                                                                                     333,34s.OO




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   10:17 PM                                                            GIVENS LAW FIRM
   09/27122
   Accrual Basis                                                     Account QuickReport
                                                                 January through December 2011



                                            Dato        Num   Name                     Mama                        Spin        Amount
                                �
      501 • FEE INCOME
                                Dap06 l   1011712011   DEP               Daposit       2012 Rant      112 Wells Fargo Office     1,625 00
                                Dap06 l   1011712011   DEP               Daposit       2012 Rant      112 Wells Fargo Office     1,625 00
                                Depos t   1011712011   DEP               Deposit J Del a2012 Rent     112 Wells Fargo Office    40,625 00
                                Depos t   1011712011   DEP               Deposit         2012 Rent    112 Wells Fargo Office    39,000 00
                                Depos t   10/1712011   DEP               Deposit          2012 Rent   112 Wells Fargo Office    39,000 00
                                Depos t   10/1712011   DEP               Deposit        2012 Rent     112 Wells Fargo Office    39,000 00
      Total501     FEE INCOME                                                                                                  160,875 00
   TOTAL                                                                                                                       160,875.00




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   09/27/22
   Accrual Basis                                             Account QuickReport
                                                            January through December 2010

                                Type       Date       Num Name                 Memo             Split           Amount
       501 FEE INCOME
                               Deposit   09/16/2010              Joseph Delia Estate   112 Wells Fargo Office   8,870.97
      Total 501    FEE NCOME                                                                                    8,870.97
   TOTAL                                                                                                        8,810.91




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   09/27/22
   Accrual Basis                                                        Account QuickReport
                                                                    January through December 2009


                               Type      Date      Num          Name                       Memo                       Split           Amount

       501   FEE INCOME
                              Deposit 11/30/2009         Joseph Delia      Check from Joe Delia - Oenga      112 Wells Fargo Office     167.97
                              Deposit 12/07/2009         ROAOenga                             -              112 Wells Fargo Office     336.00
                              Deposit 12/07/2009                                       -                     112 Wells Fargo Office     168.00
                              Deposit 12/15/2009         ROAOenga                          Amoutn Due 2009   112 Wells Fargo Office   4,031.28
       Total 501 FEE INCOME                                                                                                           4,703.25
   TOTAL                                                                                                                              4,703.25




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   09127/22
   Acerual Basis                                                           Account QuickReport
                                                                           January through December 2008


                                  Type   Data      Num              Name                        Mamo                         Spllt        Amount
       501 • FEE INCOME
                              Deposit 11/03/2008         ROAOenga                              Fees 2009 Rent    112 Wells Fargo Office    4.031 28
                              Deposit 11/03/2008         ROAOenga                         Fees 2009 Rent         112 Wells Fargo Office    4.031 28
                              Deposit 11/03/2008         ROAOenga                           Fees 2009 Rent       112 Wells Fargo Office    4.031 28
                              Deposit 11/03/2008         ROAOenga             Joseph Delia Fees 2009 Rent        112 Wells Fargo Office     167 97
                              Deposit 11/03/2008         ROAOenga                       Fees 2009 Rent           112 Wells Fargo Office     167 97
                              Deposit 11/03/2008         ROAOenga                         Fees Rent 2009         112 Wells Fargo Office     167 97
      Total 501 FEE INCOME                                                                                                                12,597 75
   TOTAL                                                                                                                                  12,597.75



       502 • CLIENT COST INCOME
                              Deposit 11/03/2008         ROAOenga                              Costs 2008 rent   112 Wells Fargo Office     807 81
                              Deposit 11/03/2008         ROAOenga                         Costs 2009 Rent        112 Wells Fargo Office     807 81
                              Deposit 11/03/2008         ROAOenga                           Costs 2009 Rent      112 Wells Fargo Office     807 81
                              Deposit 11/03/2008         ROAOenga             Joseph Delia Costs 2009 Costs      112 Wells Fargo Office      33 66
                              Deposit 11/03/2008         ROAOenga                       Costs 2009 Costs         112 Wells Fargo Office      33 66
                              Deposit 11/03/2008         ROAOenga                         Costs Rent 2009        112 Wells Fargo Office      33 66
      Total 502 CLIENT COST INCOME                                                                                                         2,524 41
   TOTAL                                                                                                                                   2,524.41




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